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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                 )
                                         )
       v.                                )      Case No. 1:21-cr-00582 (CRC)
                                         )
MICHAEL A. SUSSMANN,                     )
                                         )
                Defendant                )


                     NOTICE OF APPEARANCE OF PAOLA PINTO

       PLEASE TAKE NOTICE that the undersigned hereby enters her appearance in this matter

as counsel for Hillary for America.

Dated: April 18, 2022



                                                Respectfully submitted,

                                                /s/ Paola Pinto
                                                Paola Pinto, Bar No. 1672368
                                                Schertler Onorato Mead & Sears, LLP
                                                555 13th Street, NW
                                                Suite 500 West
                                                Washington, D.C. 20004
                                                Ph: 202-628-4199
                                                Fax: 202-628-4177
                                                rtrout@schertlerlaw.com

                                                Counsel for Hillary for America
         Case 1:21-cr-00582-CRC Document 85 Filed 04/19/22 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 18 23, 2022, I caused the forgoing to be filed and served via

electronic mail upon all counsel of record:

Michael Bosworth                                     Andrew DeFilippis
Latham & Watkins LLP                                 Special Counsel’s Office
1271 Avenue of the Americas                          145 N Street, NE
New York, NY 10020                                   Washington, DC 20002
michael.bosworth@lw.com                              andrew.defilippis@usdoj.gov

Sean M. Berkowitz                                    Michael T. Keilty
Latham & Watkins LLP                                 Jonathan Edgar Algor, IV
330 North Wabash Avenue, Suite 2800                  DOJ-USAO
Chicago, IL 60611                                    145 N Street, NE, Suite 3E 803
sean.berkowitz@lw.com                                Washington, DC 20530
                                                     michael.keilty@usdoj.gov
Catherine Yao                                        jonathan.algor@usdoj.gov
Natalie Hardwick Rao
Latham & Watkins LLP                                 Deborah Brittain
555 11th Street, NW, Suite 1000                      Shaw U.S. Department of Justice
Washington, DC 20004                                 Fraud Section, Securities & Financial Fraud
catherine.yao@lw.com                                 1400 New York Avenue, NW
natalie.rao@lw.com                                   Washington, DC 20005
                                                     brittain.shaw@usdoj.gov
Steven A. Tyrrell
Eileen Hren Citron
Weil, Gotshal & Manges, LLP
2001 M Street, NW, Suite 600
Washington, DC 20036
steven.tyrrell@weil.com
eileen.citron@weil.com
